The facts sufficiently appear in the opinion.
This is an action to recover taxes due for the year 1895, amounting to the sum of $6,353 50, together with penalties and costs.
Defendant valued its railroad in Storey county at $70,787, and delivered to the assessor the statutory statement to that effect. The officer declined to accept the valuation, but assessed it at the sum of $127,070. The board of equalization sustained the officer, and in due time this action was commenced. At the trial a verdict was rendered in favor of the state for $6,353 50, together with penalties and costs. From the judgment and an order refusing a new trial, the defendant appeals.
In the case of State v. V.  T. R. R. Co. etal., 23 Nev. 283, it was decided that the value of this railroad for the purposes of taxation for the year 1895 must be determined mainly by its net. earnings capitalized at the current rates of interest, taking into consideration any immediate prospect for an increase or decrease in the earning capacity of the road.
In that case the only evidence to support the verdict was that of the assessor. He testified that in his judgment the railroad in Washoe county was worth the amount assessed. It was shown that he had no knowledge of the business of the road; that he had not examined the reports of the company filed in compliance with law in the office of the secretary of state, and that if he had known of any decrease of its earnings, that fact would not have influenced his valuation of the property. It was held that this evidence was *Page 436 
insufficient to create a substantial conflict in the evidence when the undisputed facts were that, according to the correct method of valution, the assessment was too high.
That case is sought to be distinguished from this, upon the ground that in this case there is a substantial conflict in the testimony, and therefore this judgment should be affirmed.
In this case the only witness upon the part of the state touching valuation was the deputy assessor. His testimony was substantially the same as that of the assessor in the case from Washoe county.
Some testimony was introduced tending to show that the superintendent of defendant had admitted the correctness of an assessment made in the year 1893, but it was also shown that in that year the business of the road was exceptionally prosperous, the yearly statement made June 30th showing $102,341 50 as net earnings.
We are unable to make any distinction in principle in the respect mentioned between the cases. The remaining portion of the testimony is substantially the same in each case.
It was shown that the net earnings for the year 1895 were $27,449 53. That sum capitalized at 8 per cent, the rate of interest fixed by the undisputed testimony, represents $343,-119 12 as the value of the entire road.
The valuation fixed by the assessor cannot be upheld, and the case must be reversed for the reasons given inState v. V.  T. R. R. Co., 23 Nev. 283.
It is so ordered.
MASSEY, J.: I concur.